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                          UNITED STATES DISTRICT COURT
 15
                         CENTRAL DISTRICT OF CALIFORNIA
 16
                        WESTERN DIVISION AT LOS ANGELES
 17
      BROIDY CAPITAL MANAGEMENT LLC,
 18   and ELLIOTT BROIDY
                                                       Case No. 2:18-CV-02421-JFW-E
 19                           Plaintiffs,
                                                       The Honorable John F. Walter
 20         v.
 21   STATE OF QATAR, STONINGTON                       MEMORANDUM OF POINTS
      STRATEGIES LLC, NICOLAS D. MUZIN,                AND AUTHORITIES IN
 22   GLOBAL RISK ADVISORS LLC, KEVIN
      CHALKER, DAVID MARK POWELL,                      SUPPORT OF STONINGTON
 23   MOHAMMED BIN HAMAD BIN                           DEFENDANTS’ MOTION TO
      KHALIFA AL THANI, AHMED AL-                      DISMISS THE FIRST
 24   RUMAIHI, and DOES 1-10,
                                                       AMENDED COMPLAINT
 25                           Defendants.
 26
 27                                             Hearing Date: August 13, 2018
                                                Hearing Time: 1:30 p.m.
 28                                             Courtroom: 7A
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 1         Defendants Stonington Strategies LLC (“Stonington”) and Nicolas D. Muzin
 2   (“Dr. Muzin”) (collectively “Stonington Defendants”), by counsel submit this
 3   Memorandum of Points and Authorities in Support of their Motion to Dismiss the
 4   First Amended Complaint (“FAC”) filed by Plaintiffs Broidy Capital Management
 5   LLC (“BCM”) and Elliott Broidy (“Broidy”) (collectively “Plaintiffs”), and state:
 6                                    INTRODUCTION
 7        Facing an onslaught of embarrassing press related to Broidy’s own legal
 8   troubles, Plaintiffs filed this lawsuit to reingratiate themselves with their patrons in
 9   the United Arab Emirates (“UAE”) by attacking UAE’s archrival, the State of Qatar
10   (“Qatar”). In the process, Plaintiffs go out of their way to smear the reputation of
11   Broidy’s personal rival, Dr. Muzin, and spin the Stonington Defendants’ government
12   relations contract with Qatar—which was publicly disclosed under the Foreign
13   Agents Registration Act (“FARA”), 22 U.S.C. § 612—as some kind of nefarious
14   campaign to influence the United States government. But ultimately, this case is not
15   about the Stonington Defendants.
16         Plaintiffs themselves frame the case as a question of “whether a nation state
17   can orchestrate and execute a criminal conspiracy” to hack a United States citizen’s
18   computer, FAC ¶ 1 (emphasis added), and allege that Qatar, using former CIA cyber
19   experts, hacked and disseminated Plaintiffs’ computer files, see, e.g., id. ¶ 6. They
20   make no allegations, however, that the Stonington Defendants had anything to do
21   with this activity. Specifically, the FAC contains no allegations that the Stonington
22   Defendants (a) accessed Plaintiffs’ computers, (b) received or distributed stolen
23   documents or information from Plaintiffs’ computers, or (c) entered into an agreement
24   with Qatar to assist in any such actions.
25         Instead, Plaintiffs hang their hat “on three vague and cryptic conversations”
26   that allegedly occurred between Dr. Muzin and Broidy’s associate Joel Mowbray,
27   Dkt. 37 at 3, and shotgun allegations against “Agent Defendants”—a group
28   encompassing the Stonington Defendants, Global Risk Advisors LLC, Kevin

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 1   Chalker, David Mark Powell, Ahmed al-Rumaihi, and ten additional “John Doe”
 2   defendants, see id. at 1 n.1. But this Court has already determined that Dr. Muzin’s
 3   alleged statements to Mr. Mowbray—which are cribbed from the Mowbray
 4   Declaration filed with Plaintiffs’ TRO application, compare Dkt. 31-4 with FAC ¶¶
 5   10-12, 131-38—do not demonstrate Dr. Muzin’s participation in a hacking
 6   conspiracy. Rather, it is “just as likely that Muzin became aware of the press’s interest
 7   in Plaintiffs through his own conversations with various reporters and members of the
 8   press.” Dkt. 37 at 3. Thus, Mowbray’s testimony does not “nudge[] [Plaintiffs’]
 9   claims” of conspiracy “across the line from conceivable to plausible.” Ashcroft v.
10   Iqbal, 556 U.S. 662, 680 (2009) (citation omitted). And the FAC refers generally to
11   “Defendants” and “Agent Defendants”—instead of raising allegations against the
12   Stonington Defendants specifically—because at bottom, Plaintiffs have no basis
13   whatsoever to implicate the Stonington Defendants in an alleged hacking conspiracy.
14        The Stonington Defendants should be dismissed with prejudice. Foremost, to
15   the extent Plaintiffs do identify the Stonington Defendants, they allege that the
16   Stonington Defendants were agents of Qatar—a foreign nation entitled to foreign
17   sovereign immunity—acting at Qatar’s direction pursuant to their contract with Qatar.
18   Therefore, the Stonington Defendants are entitled to derivative sovereign immunity
19   and diplomatic agent immunity. Moreover, because Plaintiffs fail to allege that the
20   Stonington Defendants have any contacts with the State of California, the Court lacks
21   personal jurisdiction. Finally, Plaintiffs’ shotgun allegations against “Defendants”
22   and “Agent Defendants”—which alone require dismissal—fail to state any claim
23   against the Stonington Defendants.
24                                     BACKGROUND
25        The Embassy of the State of Qatar retained Stonington to develop and
26   implement a communications and government affairs strategy. See FAC ¶¶ 20-21;
27   Dkt. 31-9, Ex. 19, p. 100 (stating that Stonington undertook to “provide consulting
28   services to the Embassy of the State of Qatar in Washington . . . includ[ing] the

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 1   development and implementation of a government relations strategy for the State of
 2   Qatar, as requested and directed by the Embassy”).
 3         With respect to the Stonington Defendants specifically, the FAC alleges only
 4   that they carried out the strategy contemplated by this contract (“Qatari Embassy
 5   Agreement”). See, e.g., FAC ¶ 63 (“[T]he Qatari Defendants retained [the Stonington
 6   Defendants] to influence public opinion regarding the State of Qatar.”); id. ¶ 69 (“As
 7   part of his work for the State of Qatar, Muzin sought out high-profile individuals who
 8   could be helpful in furthering the interests of the State of Qatar.”); id. ¶ 88 (“In
 9   connection with his work for the State of Qatar, Defendant Muzin had weekly
10   meetings at the Embassy of Qatar in Washington D.C.”); id. ¶ 136 (“In [a] meeting
11   with Mowbray, Defendant Muzin discussed meetings he had with his client the State
12   of Qatar while serving as a registered agent of Qatar.”).
13         In the course of performing under the Qatari Embassy Agreement, the FAC
14   alleges that the Stonington Defendants’ activities occurred in and were directed at
15   decision-makers in Washington, D.C. and New York. See, e.g., id. ¶¶ 11-14, 89 (Dr.
16   Muzin allegedly discussed Broidy as an impediment to the Qatari’s public relations
17   efforts at meetings in Washington, D.C.); id. ¶ 65 (Stonington Defendants allegedly
18   sought to arrange meetings between Qataris and Jewish leaders in New York); id. ¶
19   88 (Dr. Muzin allegedly attended weekly meetings at the Qatari Embassy in
20   Washington, D.C.).
21                                      ARGUMENT
22   I.   THE STONINGTON DEFENDANTS SHOULD BE DISMISSED
23        BECAUSE THE COURT LACKS SUBJECT MATTER JURISDICTION.
24        A.     Standard of Review
25         “Plaintiff bears the burden to establish subject matter jurisdiction by a
26   preponderance of the evidence.” United States ex rel. Solis v. Millennium Pharm.,
27   Inc., 885 F.3d 623, 625 (9th Cir. 2018). Where, as here, the Court reviews a facial

28   attack on the complaint, it must determine whether the “allegations contained in [the]

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 1   complaint are insufficient on their face to invoke federal jurisdiction.” Lacano Invs.,
 2   LLC v. Balash, 765 F.3d 1068, 1071 (9th Cir. 2014).
 3        B.     The Stonington Defendants Are Immune From Suit.
 4         This Court’s “serious concerns” at the outset “as to whether it has subject
 5   matter jurisdiction over this case with respect to Qatar,” were well-founded. Dkt. 37
 6   at 2. As explained by Qatar, Dkt. 112-1, the sovereign is plainly immune from suit,
 7   and by extension, the Stonington Defendants, who were engaged by Qatar to
 8   “develop[] and implement[] a government relations strategy for the State of Qatar, as
 9   requested and directed by the Embassy,” Dkt. 31-9, Ex. 19, at 100, are entitled to
10   derivative sovereign immunity and diplomatic agent immunity. The Court thus lacks
11   subject matter jurisdiction, and the case should be dismissed for this reason.
12               1.     The Stonington Defendants Have Derivative Sovereign Immunity.
13         Because Qatar is immune from suit, so are the Stonington Defendants, who
14   Plaintiffs allege were agents of Qatar and acted at Qatar’s direction. It is axiomatic
15   that private government contractors enjoy derivative immunity when following the
16   commands of the sovereign. Yearsley v. W.A. Ross Constr. Co., 309 U.S. 18, 20-21
17   (1940); see also Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 673 (2016)
18   (reaffirming that a government agent is not liable for acts performed at the sovereign’s
19   direction). This immunity logically extends to the agents of a foreign sovereign acting
20   pursuant to the foreign sovereign’s orders. Butters v. Vance Int’l, Inc., 225 F.3d 462,
21   466 (4th Cir. 2000) (“It is but a small step to extend th[e] privilege [of derivative
22   sovereign immunity] to the private agents of foreign governments.”); see also Alicog
23   v. Kingdom of Saudi Arabia, 860 F.Supp. 379, 384 (S.D. Tex. 1994), aff’d, 79 F.3d
24   1145 (5th Cir. 1996) (affirming the derivative sovereign immunity of agents
25   following commands of a foreign sovereign).
26         The relevant question for establishing whether an agent is entitled to such
27   immunity, therefore, is whether the agent was following sovereign orders. See
28   Butters, 225 F.3d at 466. In other words, in considering whether a defendant is

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 1   entitled to derivative sovereign immunity, the issue is not whether the “individual
 2   sued for conduct undertaken in his official capacity is [himself] a ‘foreign state’ within
 3   the meaning of the [FSIA].” Samantar v. Yousuf, 560 U.S. 305, 308, 314 (2010).
 4   Rather, it is whether “the immunity of the foreign state extends to [the] individual for
 5   acts taken in his official capacity” in the circumstances of the case. Id. at 322.
 6   Abrogating the immunity of sovereign agents “would discourage American[s] . . .
 7   from entering lawful agreements with foreign governments and from respecting their
 8   wishes even as to sovereign acts.” Butters, 225 F.3d at 466.
 9         Taking the FAC’s allegations as true,1 the Stonington Defendants are plainly
10   entitled to derivative sovereign immunity. First, Plaintiffs allege that the Stonington
11   Defendants’ acted as agents of Qatar at Qatar’s direction. Dkt. 89 at 10. The FAC’s
12   few allegations relating specifically to the Stonington Defendants detail efforts to
13   promote Qatar’s political agenda in the United States and stymie those seeking to
14   undermine Qatar’s image. See, e.g., FAC ¶¶ 63-65, 69-70, 84, 88, 136. And these
15   alleged efforts are consistent with the Qatari Embassy Agreement. Moreover, even
16   if Plaintiffs’ hacking allegations could be attributed to the Stonington Defendants,
17   they would still be immune, because “it cannot be that an alleged violation of law per
18   se precludes Yearsley immunity.” Cunningham v. Gen. Dynamics Info. Tech., Inc.,
19   888 F.3d 640, 648-49 (4th Cir. 2018).
20         Second, the Foreign Sovereign Immunities Act (“FSIA”) covers the Stonington
21   Defendants’ alleged activities. The Stonington Defendants entered into to a FARA-
22   registered contract with Qatar that required them to “develop[] and implement[] a
23   government relations strategy . . . as requested and directed by the Embassy.” FAC
24   ¶¶ 20-21; Dkt. 31-9, Ex. 19, at 100. And Plaintiffs allege that the Stonington
25   Defendants did just that. See, e.g., FAC ¶¶ 52, 63-65, 69-70, 84, 88, 136. These
26   activities to “aid [Qatar’s] initiatives . . . [in] an area in which [it] has a putative
27
     1
28     The Stonington Defendants accept the FAC allegations as true only for purposes of
     this motion to dismiss, and deny any and all wrongdoing alleged by Plaintiffs.
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 1   national interest” “rather clearly fall[] within” the category of “political or public
 2   acts” long afforded FSIA immunity. Heaney v. Gov’t of Spain, 445 F.2d 501, 503 (2d
 3   Cir. 1971). The Stonington Defendants should thus be dismissed.
 4               2.    The Stonington Defendants Have Diplomatic Agent Immunity.
 5         The Stonington Defendants are also entitled to diplomatic agent immunity
 6   under the Vienna Convention on Diplomatic Relations (“VCDR”), Apr. 18, 1961, 23
 7   U.S.T. 3227, and the Diplomatic Relations Act (“DRA”), 22 U.S.C. § 254d. The
 8   VCDR confers near absolute immunity on diplomatic personnel. See Tabion v. Mufti,
 9   73 F.3d 535, 536 (4th Cir. 1996). The DRA “makes pellucid that American courts
10   must dismiss a suit against anyone who is entitled to immunity under . . . the VCDR.”
11   Brzak v. United Nations, 597 F.3d 107, 113 (2d Cir. 2010).2
12         A diplomatic agent is a member of the diplomatic staff of the mission. VCDR,
13   at art. 1(d)-(e). These agents engage in the functions of the diplomatic mission,
14   including “ascertaining by all lawful means conditions and developments in the
15   receiving state, and reporting thereon to the Government of the sending State,”
16   “promoting friendly relations between the sending State and the receiving State,” and
17   “developing their economic [and] cultural . . . relations.” Id. at art. 3(d)-(e). The
18   VCDR requires that the “Ministry for Foreign Affairs . . . be notified of . . . the
19   appointment of members of the mission. . . .” Id. at art. 10(1)(a). Pursuant to this
20   requirement, “all foreign personnel must register with the State Department to be
21   entitled to diplomatic immunity.” In re Grand Jury Subpoenas Returnable Dec. 16,
22   2015, 871 F.3d 141, 145 (2d Cir. 2017).
23         Plaintiffs’ allegations here make clear that the Stonington Defendants qualify
24   as diplomatic agents of Qatar entitled to diplomatic immunity. Plaintiffs allege that
25   the Stonington Defendants, consistent with the Qatari Embassy Agreement, “focused
26
27   2
      These immunities attach irrespective of “whether the underlying conduct occurred,
28   or whether it was wrongful.” Brzak, 597 F.3d at 113. Rather, the issue is whether
     such acts were performed in the course of official functions. Id.
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 1   on an effort to put a pro-Jewish spin on the State of Qatar,” identified opportunities
 2   to unite American Jewish leaders and Qatar’s Emir, “sought out high-profile
 3   individuals who could be helpful in furthering [Qatar’s] interests,” and reported on
 4   conditions and developments in the United States through “weekly meetings at the
 5   Embassy of Qatar in Washington, D.C.” where they “discussed ongoing efforts” to
 6   promote Qatar’s image in the United States. FAC ¶¶ 64-69, 88. In other words, the
 7   Stonington Defendants engaged in the functions of Qatar’s diplomatic mission just as
 8   the VCDR contemplates. See VCDR, at art. 3(d)-(e).
 9         Moreover, the Stonington Defendants’ FARA registration put the State
10   Department on notice that they engaged in these diplomatic functions on Qatar’s
11   behalf. FARA requires anyone acting as an agent of a foreign principal to register
12   with and make certain disclosures to the Attorney General, who then must promptly
13   transmit a copy of each registration statement, amendment, or supplement to the
14   Secretary of State. 22 U.S.C. § 616(b). And the State Department considers FARA
15   registration relevant to determining the status of foreign entities. Cf. Palestine Info.
16   Office v. Shultz, 853 F.2d 932, 935 (D.C. Cir. 1988) (“FARA registration ‘indicate[d]
17   that [plaintiff] engaged in political activity and political propaganda on behalf of the
18   PLO.’”) (citation omitted). Here, the Stonington Defendants’ FARA registration
19   made plain that they engaged in “political activity”—including “communications
20   with Executive Branch officials, Members of Congress . . . and other individuals and
21   organizations involved in governmental or public policy matters” on behalf of the
22   Embassy of the State of Qatar. Dkt. 31-9, Ex. 19, at 98-99. The State Department
23   accordingly had notice that the Stonington Defendants were engaged in diplomatic
24   activities for a diplomatic mission. Therefore, the Stonington Defendants are also
25   immune from suit under the VCDR and DRA.3
26
     3
       To be clear, FARA registration alone does not automatically entitle an agent of a
27   foreign principal to diplomatic immunities, if the FARA registration is for non-
28   diplomatic work or if the agent is not representing a foreign state. See 22 U.S.C. §§
     611(b), 611(c)(1)(iii); VCDR, at art. 3. Here, however, the Stonington Defendants
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 1   II.   THE STONINGTON DEFENDANTS SHOULD BE DISMISSED
 2         BECAUSE THE COURT LACKS PERSONAL JURISDICTION.
 3         A.      Standard of Review
 4         To invoke personal jurisdiction, Defendants’ “suit-related conduct must create
 5   a substantial connection with the forum State.” Walden v. Fiore, 571 U.S. 277, 284
 6   (2014). Plaintiff “bears the burden of demonstrating that jurisdiction is appropriate.”
 7   Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1141 (9th Cir. 2017). Because no
 8   evidentiary hearing is required, the court reviews only whether the complaint and any
 9   affidavits make a prima facie showing of personal jurisdiction. See Boschetto v.
10   Hansing, 539 F.3d 1011, 1015 (9th Cir. 2008).
11         B.      Plaintiffs Fail to Allege That The Stonington Defendants Took Any
12                 Actions In or Aimed At California.
13         The “minimum contacts” necessary to establish personal jurisdiction “are
14   shown if the defendant has continuous and systematic general business contacts with
15   a forum state” (general jurisdiction), or “if the defendant has sufficient contacts
16   arising from or related to specific transactions or activities in the forum state”
17   (specific jurisdiction). Morrill, 873 F.3d at 1141 (citation omitted). Plaintiffs do not
18   contend that the Stonington Defendants are subject to general personal jurisdiction in
19   California.    Nor could they.     The Stonington Defendants are not residents of
20   California. See FAC ¶¶ 20-21; Daimler AG v. Bauman, 571 U.S. 117, 137 (2014).
21   Nor does the FAC come even close to establishing specific personal jurisdiction.
22         For a “court to exercise specific jurisdiction, ‘the suit’ must ‘aris[e] out of or
23   relat[e] to the defendant’s contacts with the forum.’” Bristol-Myers Squibb Co. v.
24   Superior Court of Cal., S.F. Cty., 137 S. Ct. 1773, 1780 (2017) (citation omitted).
25   The Ninth Circuit applies a three-part test to determine whether a court has specific
26
27   are entitled to diplomatic immunity because they (1) were agents of a foreign mission;
28   (2) engaged in the function of that mission; and (3) satisfied the State Department’s
     notice requirement by registering with FARA.
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 1   personal jurisdiction:
 2        (1) The non-resident defendant must purposefully direct his activities
 3        [toward] the forum . . . ;
 4        (2) the claim must be one which arises out of or relates to the defendant’s
 5        forum-related activities; and
 6        (3) the exercise of jurisdiction must comport with fair play and substantial
 7        justice, i.e. it must be reasonable.
 8   Morrill, 873 F.3d at 1142 (citation omitted).
 9         Where, as here, the case “sounds in tort,” the Court should apply the
10   “purposeful direction test.” Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064,
11   1069 (9th Cir. 2017). Under that test, the defendant must have “(1) committed an
12   intentional act, (2) expressly aimed at the forum state, (3) causing harm that the
13   defendant knows is likely to be suffered in the forum state.” Morrill, 873 F.3d at
14   1142 (citation omitted). Prior to the Supreme Court’s decision in Walden v. Fiore,
15   the Ninth Circuit had held that this test was satisfied by “individualized targeting” of
16   a California resident. Axiom Foods, 874 F.3d at 1069. But in Axiom Foods, the Ninth
17   Circuit recently made clear that a “theory of individualized targeting . . . will not, on
18   its own, support the exercise of specific jurisdiction.” Id. at 1070 (citation omitted).
19   This is because “a defendant’s relationship with a plaintiff or third party, standing
20   alone, is an insufficient basis for jurisdiction.” Id. at 1068 (quoting Walden, 571 U.S.
21   at 286). Personal jurisdiction “must arise out of contacts that the ‘defendant himself’
22   creates with the forum State,” and “not the defendant’s contacts with persons who
23   reside there.” Walden, 571 U.S. at 284-85 (citations omitted).
24         Here, Plaintiffs fail to satisfy the purposeful direction test. The FAC does not
25   contain a single allegation that the Stonington Defendants traveled to, did business
26   in, or had any activity in or aimed at California. To the contrary, Plaintiffs allege that
27   the Stonington Defendants’ activities took place in New York and Washington, D.C.,
28   and that those activities were aimed at and attempted to influence individuals in those

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 1   jurisdictions. See, e.g., FAC ¶¶ 11-14, 65, 88-89. The only act Plaintiffs claim
 2   occurred in California is the unauthorized access of Plaintiffs’ computers and email
 3   servers, see id. ¶¶ 7, 15, 93, 115, and Plaintiffs have conceded that the unlawful access
 4   was perpetrated by “other defendants,” Dkt. 89 at 14.
 5         Plaintiffs cannot establish personal jurisdiction by alleging that “Defendants”
 6   or “Agent Defendants” took actions in or aimed at California. Such shotgun pleading
 7   does not satisfy Plaintiffs’ burden to demonstrate personal jurisdiction with respect to
 8   each defendant. See Walden, 571 U.S. at 286; Rush v. Savchuk, 444 U.S. 320, 332
 9   (1980); see also Head v. Las Vegas Sands, LLC, 298 F. Supp. 3d 963, 973 (S.D. Tex.
10   2018) (“[A] plaintiff must submit evidence supporting personal jurisdiction over each
11   defendant, and cannot simply lump them all altogether.” (footnote omitted)). For
12   example, Plaintiffs allege that “Agent Defendants all participated in the strategic
13   planning for and execution of the attacks.” FAC ¶ 8 (emphasis added). But Plaintiffs
14   do not point to a single allegation in the FAC that the Stonington Defendants
15   possessed, let alone distributed, stolen emails to any media organizations. Indeed,
16   Plaintiffs have conceded that “it currently is unclear” whether Dr. Muzin
17   “participated in the dissemination of the stolen materials.” Dkt. 89 at 19 (emphasis
18   added).
19         Nor can Plaintiffs establish personal jurisdiction by demonstrating that the
20   Stonington Defendants specifically targeted Plaintiffs, who are California residents.
21   As an initial matter, the FAC does not allege that the Stonington Defendants targeted
22   Plaintiffs for any unlawful activity. At most, Plaintiffs allege that the Stonington
23   Defendants discussed Broidy as an opponent in the public relations war between
24   Qatar and the UAE, and that they lobbied against Broidy’s efforts to undermine Qatar.
25   See, e.g., FAC ¶¶ 11-14, 89. Moreover, the Court “must look to the defendant’s own
26   contacts with the forum, not to the defendant’s knowledge of a plaintiff’s connections
27   to a forum.” Axiom Foods, 874 F.3d at 1069 (citation omitted). Thus, even if the
28   FAC alleges that the Stonington Defendants targeted Broidy for hacking and injured

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 1   him in California, it does not allege that Broidy’s targeting connected the Stonington
 2   Defendants to California or that the Stonington Defendants made other contacts with
 3   the State sufficient to satisfy Walden’s purposeful direction test. See Walden, 571
 4   U.S. at 277 (“[P]laintiff cannot be the only link between the defendant and the
 5   forum.”); see also Picot v. Weston, 780 F.3d 1206, 1215 (9th Cir. 2015) (finding no
 6   personal jurisdiction where defendant’s tortious conduct occurred outside California
 7   and plaintiff’s injury was “entirely personal to him and would follow him wherever
 8   he might choose to live or travel”).
 9         Finally, Plaintiffs cannot establish personal jurisdiction through their
10   conspiracy claim. Pleading participation in an alleged conspiracy is insufficient to
11   establish the requisite minimum contacts to demonstrate personal jurisdiction.
12   “California law does not recognize conspiracy as a basis for acquiring jurisdiction
13   over a foreign defendant.” EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp.,
14   711 F. Supp. 2d 1074, 1089 (C.D. Cal. 2010) (citations omitted). Accordingly,
15   “actions taken by co-conspirators in furtherance of the conspiracy cannot be attributed
16   to a conspirator for purposes of establishing personal jurisdiction.” Id. (citing cases);
17   see 12 Cal. Jur. 3d Civil Conspiracy § 3 (“Conspiracy is not a basis for acquiring
18   personal jurisdiction over a party.”); see also Stauffacher v. Bennett, 969 F.2d 455,
19   460 (7th Cir. 1992) (“The cases are unanimous that a bare allegation of
20   a conspiracy between the defendant and a person within the personal jurisdiction of
21   the court is not enough.”), superseded on other grounds by Fed. R. Civ. P. 4(k)(2).
22   The Stonington Defendants should thus be dismissed.
23   III. THE STONINGTON DEFENDANTS SHOULD BE DISMISSED
24        BECAUSE PLAINTIFFS FAIL TO STATE A CLAIM.
25         All of Plaintiffs’ causes of action against the Stonington Defendants should be
26   dismissed for failure to state a claim. As an initial matter, Plaintiffs’ improper shotgun
27   pleading should result in the Stonington Defendants’ dismissal. Moreover, Counts I
28   (Computer Fraud and Abuse Act (“CFAA”)), II (California Comprehensive

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 1   Computer Data Access and Fraud Act (“CDAFA”)), IV (Invasion of Privacy by
 2   Intrusion Upon Seclusion), VI (Stored Communications Act (“SCA”)), and VII
 3   (Digital Millennium Copyright Act (“DMCA”)), should be dismissed because
 4   Plaintiffs fail to allege that the Stonington Defendants participated in the alleged hack,
 5   and because they fail to satisfy various other elements of Counts VI and VII. Counts
 6   III (Receipt and Possession of Stolen Property), V (Conversion), VIII (California
 7   Uniform Trade Secrets Act (“CUTSA”)), and IX (Defend Trade Secrets Act
 8   (“DTSA”)), should be dismissed because Plaintiffs do not allege that the Stonington
 9   Defendants received, possessed, or distributed the allegedly hacked emails, and
10   because they have failed to allege the theft of a “trade secret” under Counts VIII and
11   IX. Count X (Civil Conspiracy) should be dismissed because Plaintiffs have failed
12   to allege that the Stonington Defendants entered into an agreement to assist in the
13   hacking or distribution of Plaintiffs’ emails. And the common law claims—Counts
14   III, IV, V, and X—should also be dismissed as preempted by the CUTSA and CFAA.
15        A.     Standard of Review
16         To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6),
17   Plaintiffs’ FAC must “contain sufficient factual matter, accepted as true, to ‘state a
18   claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Bell Atl.
19   Corp. v. Twombly, 550 U.S. 544, 570 (2007)).        “However, a court need not accept
20   as true unreasonable inferences, unwarranted deductions of fact, or conclusory legal
21   allegations cast in the form of factual allegations.” Critters of the Cinema, Inc. v.
22   Nestle Purina Petcare Co., No. 16-CV-3626, 2016 WL 9185144, at *1 (C.D. Cal.
23   Aug. 1, 2016) (citations omitted). While a complaint “does not need detailed factual
24   allegations, a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to
25   relief’ requires more than labels and conclusions, and a formulaic recitation of the
26   elements of a cause of action will not do.” Id. (quoting Twombly, 550 U.S. at 555).
27   “When faced with two possible explanations, . . . only one of which results in
28   liability, plaintiffs cannot offer allegations that are ‘merely consistent with’ their

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 1   favored explanation . . . .” In re Century Aluminum Co. Sec. Litig., 729 F.3d 1104,
 2   1108 (9th Cir. 2013) (citations omitted). Instead, “[s]omething more is needed, such
 3   as facts tending to exclude the possibility that the alternative explanation is true in
 4   order        to    render   plaintiffs’   allegations   plausible   within   the   meaning
 5   of Iqbal and Twombly.” Id.
 6           B.        All of Plaintiffs’ Claims Should Be Dismissed Because The FAC Is an
 7                     Improper Shotgun Pleading.
 8           All of Plaintiffs’ claims can be dismissed based on their improper and deficient
 9   shotgun pleading. They fail to specify which of the eight named and ten unnamed
10   parties is responsible for any of the actions underlying their ten causes of action,
11   instead focusing their allegations generally on “Defendants” or “Agent Defendants.”
12   See, e.g., FAC ¶ 141 (“Defendant the State of Qatar, by itself and/or through the Agent
13   Defendants and the GRA Defendants, accessed or caused to be accessed Plaintiffs’
14   servers . . . .” (emphasis added)); ¶ 195 (“Plaintiffs’ computer networks . . . were
15   illegally accessed by Defendants without authorization.” (emphasis added)). The
16   FAC thus “impermissibly” fails to distinguish among defendants charged “though
17   geographic and temporal realities make plain that all of the defendants could not have
18   participated in every act complained of.” Zinzuwadia v. Mortg. Elec. Registration
19   Sys., Inc., No. 2:12-CV-02281, 2012 WL 6737837, at *7 (E.D. Cal. Dec. 28, 2012)
20   (footnote and citations omitted); Inman v. Anderson, 294 F. Supp. 3d 907, 919 (N.D.
21   Cal. 2018) (“[A] complaint that lump[s] together . . . multiple defendants in one broad
22   allegation fails to satisfy [the] notice requirement of Rule 8(a)(2).” (citations
23   omitted)). Indeed, several allegations are nonsensical, as they refer to the “GRA
24   Defendants” and “Agent Defendants,” even though the “Agent Defendants” include
25   the “GRA Defendants.” See, e.g., FAC ¶¶ 139, 141. Moreover, each cause of action
26   improperly incorporates up to 227 previous paragraphs spanning “innumerable pages
27   of rambling irrelevancies,” further contributing to the shotgun nature of Plaintiffs’
28   allegations. Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1294 (11th Cir. 2018); see

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 1   also Heejoon Chung v. U.S. Bank, N.A., 250 F. Supp. 3d 658, 678 (D. Haw. 2017)
 2   (explaining that “courts have generally rejected” the practice of “incorporation by
 3   reference,” “commonly known as shotgun or puzzle pleading”). These pleading
 4   deficiencies constitute an independent basis to dismiss the entire FAC with prejudice.
 5   See Vibe Micro, 878 F.3d at 1295; McHenry v. Renne, 84 F.3d 1172, 1180 (9th Cir.
 6   1996).
 7        C.      Counts I, II, IV, VI, and VII Should Be Dismissed Because Plaintiffs
 8                Have Not Alleged That The Stonington Defendants Hacked
 9                Plaintiffs’ Computers.
10          As noted above, there is not a single allegation in the FAC that the Stonington
11   Defendants hacked Plaintiffs’ computers. To the contrary, Plaintiffs allege that
12   Qatar, using former CIA cyber experts (i.e., the “GRA Defendants”), hacked
13   Plaintiffs’ computer files. See, e.g., FAC ¶ 6 (“On information and belief, the Qatari
14   Defendants retained and used the GRA Defendants to coordinate and implement the
15   hack . . . .”). Indeed, in the ten pages of allegations describing the alleged hack, see
16   id. ¶¶ 93-116, Dr. Muzin is mentioned just twice as an aside, see id. ¶¶ 101-02. It is
17   not surprising, then, that Plaintiffs conceded in their Stay Opposition that “the FAC
18   alleges that other defendants targeted Plaintiffs’ computer servers and email accounts
19   in California . . . .” Dkt. 89 at 14.
20          Counts I, II, IV, VI, and VII, therefore, should be dismissed as to the Stonington
21   Defendants. Each cause of action requires unlawful or improper access of Plaintiffs’
22   computers or servers as an element of the claim. And Counts VI and VII fail for
23   additional reasons as well.
24                1.     Plaintiffs Have Failed to State a Claim Under The CFAA (Count I)
25                       and CDAFA (Count II).
26          Plaintiffs have not alleged that the Stonington Defendants are “violators” of the
27   CFAA or CDAFA. Civil liability under the CFAA can only be imposed against
28   “primary violators,” i.e., those individuals who actually obtain information without,

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 1   or in excess of, authorization. See Flynn v. Liner Grode Stein Yankelevitz Sunshine
 2   Regenstreif & Taylor LLP, 2011 WL 2847712, at *3 (D. Nev. July 15, 2011)
 3   (explaining that liability can only be imposed on “a primary violator,” because the
 4   CFAA “does not provide for aiding and abetting liability” (emphasis added)); see
 5   also 18 U.S.C. § 1030(g) (“Any person who suffers damage or loss by reason of a
 6   violation of this section may maintain a civil action against the violator.” (emphasis
 7   added)). Individuals not directly engaged in computer hacking cannot be liable under
 8   the CFAA. See Power Equip. Maint., Inc. v. AIRCO Power Servs., Inc., 953 F. Supp.
 9   2d 1290, 1297 (S.D. Ga. 2013) (“Clearly, the CFAA requires that the individual
10   actually access the information, not merely receive it from a third party.” (emphasis
11   added)); see also Agilysys, Inc. v. Hall, 258 F. Supp. 3d 1331, 1343-44 (N.D. Ga.
12   2017) (dismissing CFAA claim because the defendant “did not access Agilysys’
13   computers, and therefore, [defendant] may not be held liable as the violator under the
14   CFAA”). Likewise, the CDAFA—the CFAA’s California state analog—only allows
15   a plaintiff to “bring a civil action against the violator.” Cal. Penal Code § 502(e)(1)
16   (emphasis added). Because the FAC does not allege that the Stonington Defendants
17   were “violators” under the statutes, Counts I and II fail to state a claim.
18                2.     Plaintiffs Have Failed to State a Claim For Intrusion Upon
19                       Seclusion (Count IV).
20          Plaintiffs’ intrusion upon seclusion claim should be dismissed because they do
21   not allege that the Stonington Defendants “intruded” on Plaintiffs’ privacy. Under
22   California law, a claim for invasion of privacy by intrusion upon seclusion has two
23   elements: (1) intrusion into a private place, conversation or matter, (2) in a manner
24   highly offensive to a reasonable person. Shulman v. Grp. W Prods., Inc., 955 P.2d
25   469, 490 (Cal. 1998); see also Restatement (Second) of Torts § 652B (1977). Because
26   Plaintiffs fail to allege that the Stonington Defendants had any role in the alleged
27   “intrusion”—i.e., hacking—of Plaintiffs’ private emails and documents, Count IV
28   also fails to state a claim.

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 1               3.     Plaintiffs Have Failed To State an SCA Claim (Count VI).
 2         Plaintiffs’ SCA claim against the Stonington Defendants fails for multiple
 3   reasons. First, the SCA prohibits “intentionally access[ing] without authorization a
 4   facility through which an electronic communication service is provided.” 18 U.S.C.
 5   § 2701(a) (emphasis added). The Ninth Circuit has held that the SCA does not allow
 6   for secondary—i.e., aiding and abetting—liability. See Freeman v. DirecTV, Inc.,
 7   457 F.3d 1001, 1006 (9th Cir. 2006) (addressing 18 U.S.C. §§ 2702 and 2707 and
 8   finding “no support for the argument that secondary liability should be imposed”);
 9   see also Council on Am.-Islamic Relations Action Network, Inc. v. Gaubatz, 891 F.
10   Supp. 2d 13, 26-27 (D.D.C. 2012) (finding that a theory of secondary liability “is
11   not . . . cognizable under the [SCA]”). Because Plaintiffs do not allege that the
12   Stonington Defendants directly hacked—i.e., “accessed”—Plaintiffs’ computers, and
13   the SCA does not provide a claim for aiding and abetting liability, Plaintiffs have
14   failed to state an SCA claim.
15         Second, the SCA only applies to “facilit[ies] through which an electronic
16   communication service is provided.” 18 U.S.C. § 2701(a)(1).              An “electronic
17   communication service” is one that provides users with “the ability to send or receive”
18   electronic communications. 18 U.S.C. § 2510(15). Not all computers or computer
19   systems constitute “facilit[ies]” under the SCA. See, e.g., In re Facebook Internet
20   Tracking Litig., 263 F. Supp. 3d 836, 845 (N.D. Cal. 2017) (“Plaintiffs’ claim also
21   fail [sic] because personal computers are not ‘facilities’ under the SCA.” (citations
22   omitted)); see also K.F. Jacobsen & Co. v. Gaylor, 947 F. Supp. 2d 1120, 1126 (D.
23   Or. 2013) (dismissing SCA claim because employer was a user of electronic
24   communications services, not a provider). Here, because Plaintiffs provide no factual
25   allegations to demonstrate that “BCM’s computer systems” constitute a “facility”
26   under the statute, see FAC ¶ 190, their SCA claim fails for this additional reason. See
27   Twombly, 550 U.S. at 555 (“[P]laintiff’s obligation to [state a claim] . . . requires more
28   than labels and conclusions.” (citation omitted)). Count VI should be dismissed.

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 1               4.      Plaintiffs Have Failed To State a DMCA Claim (Count VII).
 2         Plaintiffs’ DMCA claim against the Stonington Defendants also fails for
 3   multiple reasons.    First, the DMCA prohibits “circumvent[ing] a technological
 4   measure that effectively controls access” to copyrighted material.          17 U.S.C.
 5   § 1201(a)(1). To “circumvent a technological measure” means “to descramble,” “to
 6   decrypt,” “or otherwise to avoid, bypass, remove, deactivate, or impair a
 7   technological measure, without the authority of the copyright owner.”                Id.
 8   § 1201(a)(3)(A).     In failing to allege that the Stonington Defendants accessed
 9   Plaintiffs’ computers or servers, Plaintiffs do not satisfy the circumvention element.
10         Second, the DMCA claim should also be dismissed because the DMCA does
11   not cover the phishing scheme used for the hack.          See Ground Zero Museum
12   Workshop v. Wilson, 813 F. Supp. 2d 678, 692 (D. Md. 2011) (“[U]sing a password
13   or security code to access a copyrighted work, even without authorization, does not
14   constitute ‘circumvention.’”). That is, because “[c]ircumvention requires either
15   descrambling, decrypting, avoiding, bypassing, removing, deactivating or impairing
16   a technological measure qua technological measure,” the “DMCA and the anti-
17   circumvention provision at issue do not target” the illegitimate use of legitimate login
18   credentials—as Plaintiffs allege here—to “engage and move through [a]
19   technological measure.” I.M.S. Inquiry Mgmt. Sys., Ltd. v. Berkshire Info. Sys., Inc.,
20   307 F. Supp. 2d 521, 532-33 (S.D.N.Y. 2004); see also Adobe Sys. Inc. v. A & S
21   Elecs., Inc., No. C 15-2288, 2015 WL 13022288, at *8 (N.D. Cal. Aug. 19, 2015)
22   (finding that use of legitimate serial license keys to decrypt and use software was not
23   “circumvention” and “[s]uch conduct . . . is not covered by the DMCA.”). Thus, even
24   if Plaintiffs had alleged that the Stonington Defendants personally entered Plaintiffs’
25   login credentials, no DMCA violation would follow.
26         Third, Plaintiffs failed to plead that copyrighted material was hacked.
27   Copyright protection generally subsists “in original works of authorship fixed in any
28   tangible medium of expression,” and includes eight categories of protected works. 17

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 1   U.S.C. § 102(a). Copyright protection does not “extend to any idea, procedure,
 2   process, system, method of operation, concept, principle, or discovery, regardless of
 3   the form in which it is described, explained, illustrated, or embodied in such work.”
 4   Id. § 102(b). Here, Plaintiffs offer conclusory allegations that their computers and
 5   files included “presentations, proprietary business plans and proposals, and strategic
 6   correspondence.” FAC ¶ 195. But “[f]acts and ideas—including ideas couched as
 7   ‘business plans’—are never subject to copyright.” Gaines v. District of Columbia,
 8   961 F. Supp. 2d 218, 223 (D.D.C. 2013) (citation omitted); see also Terarecon, Inc.
 9   v. Fovia, Inc., No. C 05-4407, 2006 WL 1867734, at *10 (N.D. Cal. July 6, 2006)
10   (noting that “business plans and customer information” are “materials that are outside
11   the scope of the Copyright Act”). And Plaintiffs have otherwise failed to allege that
12   these materials are original works of authorship, or that they fall within any of the
13   enumerated categories of works entitled to copyright protection. Indeed, Plaintiffs
14   have failed to allege anything suggesting that the materials are more than non-
15   copyrightable facts or ideas. Count VII should be dismissed.
16        D.     Counts III, V, VIII, and IX Should Be Dismissed Because Plaintiffs
17               Have Not Alleged That The Stonington Defendants Received,
18               Possessed, or Distributed Stolen Emails.
19         The FAC is also completely devoid of allegations that the Stonington
20   Defendants received, possessed, or distributed any of Plaintiffs’ private emails or
21   information. Again, Plaintiffs expressly allege that “the State of Qatar, acting
22   through the Agent Defendants, was responsible for disseminating the emails and
23   documents stolen from Plaintiffs’ California-based email accounts and servers.” FAC
24   ¶ 126; see also id. ¶ 93 (“On information and belief, . . . Defendant State of Qatar
25   acting directly or through the Agent Defendants, retained the GRA Defendants to
26   coordinate an offensive cyber and information operation against Plaintiffs. . . .”).
27   Moreover, Plaintiffs acknowledge that Dr. Muzin explicitly disclaimed participation
28   in the alleged acts; “I did not cause the Broidy stuff.” See id. ¶ 122.

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 1        Counts III, V, VIII, and IX thus should be dismissed as to the Stonington
 2   Defendants. Each cause of action includes receipt, possession, or distribution of
 3   Plaintiffs’ emails as an element of the claim. Moreover, Counts VIII and IX should
 4   also be dismissed because Plaintiffs fail to allege a “trade secret.”
 5               1.     Plaintiffs Have Failed To State a Claim For Receipt and
 6                      Possession of Stolen Property (Count III) or Conversion (Count V).
 7         Plaintiffs’ receipt and possession of stolen property and conversion claims
 8   should be dismissed because Plaintiffs do not allege that the Stonington Defendants
 9   “received,” “possessed,” or “converted” the allegedly hacked emails. To state a civil
10   claim under California Penal Code § 496, Plaintiffs must establish “(1) that the
11   particular property was stolen, (2) that the accused received, concealed or withheld
12   it from the owner thereof, and (3) that the accused knew that the property was
13   stolen.” People v. Moses, 266 Cal. Rptr. 538, 541 (Cal. Ct. App. 1990) (emphasis
14   added). Similarly, to state a claim for conversion, Plaintiffs must demonstrate: (1)
15   the right to possession or ownership of a property interest; (2) the conversion of the
16   property by a wrongful act or disposition of property rights; and (3) damages.
17   Opperman v. Path, Inc., 84 F. Supp. 3d 962, 989 (N.D. Cal. 2015) (citations omitted).
18   Here, Plaintiffs fail to allege that the Stonington Defendants ever “received, concealed
19   or withheld” Plaintiffs’ allegedly stolen emails, let alone that they took wrongful acts
20   to convert or dispose of any such emails. Thus, Counts III and V should be dismissed.
21               2.     Plaintiffs Have Failed To State a Trade Secrets Claim Under The
22                      CUTSA (Count VIII) or The DTSA (Count IX).
23         Plaintiffs’ CUTSA and DTSA claims should be dismissed for two reasons.
24   First, those statutes prohibit “misappropriation” of trade secrets. 18 U.S.C. § 1836(b);
25   Cal. Civ. Code § 3426.2(a). Misappropriation has three elements: “(1) the plaintiff
26   owned a trade secret, (2) the defendant acquired, disclosed, or used the plaintiff’s
27   trade secret through improper means,” and (3) damages. Agency Solutions.Com,
28   LLC v. TriZetto Grp., Inc., 819 F. Supp. 2d 1001, 1015 (E.D. Cal. 2011) (emphasis

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 1   added); see also 18 U.S.C. § 1839(5). Here, Plaintiffs have failed to allege that the
 2   Stonington Defendants ever “acquired, disclosed, or used” any of Plaintiffs’
 3   information, let alone that they did so “through improper means.” For this reason
 4   alone, Counts VIII and IX should be dismissed. See Becton, Dickinson & Co. v. Cytek
 5   Biosciences Inc., No. 18-CV-00933, 2018 WL 2298500, at *3 (N.D. Cal. May 21,
 6   2018) (rejecting trade secret claim because “there is no allegation that any of the
 7   defendants acquired, disclosed, or used any such information”).
 8         Second, Plaintiffs’ CUTSA and DTSA claims should also be dismissed
 9   because Plaintiffs fail to allege that the information and documents allegedly hacked
10   include “trade secrets.” A “trade secret” is information that derives “independent
11   economic value . . . from not being generally known to the public or to other persons
12   who can obtain economic value from its disclosure or use,” and is subject to
13   reasonable efforts to maintain its secrecy. ChromaDex, Inc. v. Elysium Health, Inc.,
14   301 F. Supp. 3d 963, 970-71 (C.D. Cal. 2017) (quoting Cal. Civ. Code § 3426.1(d)
15   and citing 18 U.S.C. § 1839(3)). To survive a motion to dismiss, Plaintiffs must
16   identify “the trade secret with sufficient particularity to separate it from matters of
17   general knowledge in the trade . . . .” MedioStream, Inc. v. Microsoft Corp., 869 F.
18   Supp. 2d 1095, 1113 (N.D. Cal. 2012) (citation omitted).
19        Here, Plaintiffs identify no protected trade secrets. The FAC broadly alleges
20   that the BCM server stored trade secrets including “highly confidential business plans
21   and proposals, research supporting those plans and proposals . . . , information
22   concerning business strategies and opportunities, and contacts for important business
23   relationships.” FAC ¶¶ 205, 218. But courts have repeatedly rejected exactly this
24   sort of description as too broad to sufficiently plead a trade secret. See, e.g., Becton,
25   Dickinson & Co., 2018 WL 2298500, at *3 (finding allegations of improper
26   downloading of “design review templates,” “fluidics design files,” and “source code
27   files” were too broad to state a trade secret claim); Veronica Foods Co. v. Ecklin, No.
28   16-CV-07223, 2017 WL 2806706, at *14 (N.D. Cal. June 29, 2017) (rejecting trade

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 1   secret claim for misappropriation of “confidential business information,” or
 2   “extensive, confidential, information relating to its business and customers,” as too
 3   broad to state a trade secret claim). Counts VIII and IX fail for this additional reason.
 4        E.     Plaintiffs’ Civil Conspiracy Claim (Count X) Should Be Dismissed
 5               Because Plaintiffs Have Not Alleged That The Stonington Defendants
 6               Expressly or Tacitly Agreed To The Alleged Hacking Scheme.
 7         Plaintiffs also fail to adequately allege that the Stonington Defendants
 8   participated in a conspiracy to commit any of the alleged torts. Under California law,
 9   to support a conspiracy claim, a plaintiff must allege: (1) the formation and operation
10   of the conspiracy, (2) wrongful conduct in furtherance of the conspiracy, and (3)
11   damages. Wasco Prods., Inc. v. Southwall Techs., Inc., 435 F.3d 989, 992 (9th Cir.
12   2006) (citations omitted). “For [conspiracy] liability to attach, knowledge of the
13   planned tort must be combined with intent to aid in its commission.” Contreras v.
14   Dowling, 208 Cal. Rptr. 3d 707, 724 (Cal. Ct. App. 2016) (citation omitted).
15         A conspiracy claim must contain “enough fact to raise a reasonable expectation
16   that discovery will reveal evidence of illegal agreement.” Twombly, 550 U.S. at 556.
17   It is well settled that “[b]are allegations” and “rank” conjecture cannot establish a
18   civil conspiracy. Choate v. County of Orange, 103 Cal. Rptr. 2d 339, 353 (Cal. Ct.
19   App. 2000). A party seeking to establish a civil conspiracy “must show that each
20   member of the conspiracy acted in concert and came to a mutual understanding to
21   accomplish a common and unlawful plan . . . .” Id. “It is not enough that the
22   [conspirators] knew of an intended wrongful act, they had to agree—expressly or
23   tacitly—to achieve it.” Id. (emphasis added) (citations omitted).
24         Plaintiffs’ civil conspiracy claim is based on nothing more than “rank
25   conjecture.” Id. Plaintiffs fail to allege any specific facts about any agreement
26   involving the Stonington Defendants—express or tacit—to hack Plaintiffs and
27   disseminate stolen information. See, e.g. Villegas v. Wells Fargo Bank, N.A., No. C
28   12-02004, 2012 WL 4097747, at *5 (N.D. Cal. Sept. 17, 2012) (dismissing conspiracy

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 1   claim based on conclusory allegations of cooperation and an agency relationship
 2   between two alleged co-conspirators); Hanni v. Am. Airlines, Inc., No. C 08-00732,
 3   2008 WL 5000237, at *6 (N.D. Cal. Nov. 21, 2008) (dismissing civil conspiracy claim
 4   for failure to allege “when and how the [defendants] entered into an agreement”).
 5   Indeed, Plaintiffs have conceded that “it currently is unclear” Dr. Muzin conspired to
 6   obtain and distribute “Plaintiffs’ private communications.” Dkt. 89 at 19.
 7         Plaintiffs’ vague allegations that “Defendants” “had meetings wherein
 8   targeting Plaintiff Broidy was discussed,” FAC ¶ 233, are insufficient to establish that
 9   the Stonington Defendants participated in a conspiracy to hack. Nothing in the FAC
10   suggests that the Stonington Defendants “targeted” Plaintiffs for hacking, receiving,
11   and distributing Plaintiffs’ allegedly stolen emails. Indeed, given that Broidy admits
12   that he was “a vocal critic” of the Stonington Defendants’ client, Qatar, see id. ¶ 76,
13   it is more likely that the Stonington Defendants simply discussed Plaintiffs as
14   opponents of their lobbying efforts. See id. ¶¶ 74-87 (detailing Broidy’s extensive
15   campaign targeting the State of Qatar). That alone does not suggest a plan or intent
16   to unlawfully attack Plaintiffs.4
17         Plaintiffs’ allegations suggesting that the Stonington Defendants had an
18   incentive to hack Broidy, see, e.g., id. ¶¶ 87, 128, 234, also cannot save their claim.
19   Evidence of motive is not sufficient to demonstrate the formation and operation of a
20   conspiracy. See Tounget v. City of Hemet, No. 08-464, 2009 WL 536835, at *9 (C.D.
21   Cal. Feb. 24, 2009) (“Plaintiffs conclusory allegation of conspiracy and a motive to
22   conspire is not sufficient.”).
23         Finally, Plaintiffs’ allegations regarding the alleged Mowbray conversations do
24   not establish the Stonington Defendants’ participation in a conspiracy. As an initial
25
26
     4
      Permitting “conspiracy” charges to proceed merely on the grounds that Qatar and
     Stonington Defendants had “meetings” and “discussed” Broidy not only fails Rule
27   12’s pleading standard, it raises significant speech and associational concerns in
28   addition to inviting undue interference with a sovereign state’s interests. See, e.g.,
     Butters, 225 F.3d at 466.
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 1   matter, Plaintiffs concede that Dr. Muzin denied any participation in the alleged hack
 2   during those conversations. FAC ¶ 122. Therefore, Dr. Muzin’s statement that he
 3   was “doing [his] job,” id. ¶ 137, merely confirms that, consistent with the Stonington
 4   Defendants’ efforts to promote Qatar’s interests in the United States, the Stonington
 5   Defendants had identified the need to lobby against “a vocal critic” of Qatar, see id.
 6   ¶ 76. Moreover, Dr. Muzin’s alleged statement that, “I don’t know all the details,
 7   but I know that I am hearing repeatedly that there’s a lot more coming,” id. ¶ 122, is
 8   not remotely an admission that he was involved in a conspiracy to hack or disseminate
 9   Plaintiffs’ emails. To the contrary, Dr. Muzin allegedly made the statement on March
10   8, 2018, more than a week after media outlets started publishing information from
11   Plaintiffs’ emails on March 1, 2018, and at the exact time that one would expect
12   reporters to call Qatar’s registered agent for comments about their pending stories.
13   See id. ¶ 121; Dkt. 31-9, Ex. 3, p. 14. Thus, at the time Dr. Muzin allegedly made
14   these statements, Plaintiffs’ emails were already the subject of news stories
15   generating rampant gossip about upcoming leaks. In other words, Dr. Muzin’s
16   statements at most indicate his awareness, as of March 8, 2018, that reporters had
17   access to Plaintiffs’ emails and were writing stories about them. But they certainly
18   do not demonstrate that Dr. Muzin was aware of, much less participated in, a
19   conspiracy with Qatar to hack and disseminate the emails.
20          When considering whether a complaint plausibly states a claim, the Ninth
21   Circuit has cautioned that “courts must also consider an ‘obvious alternative
22   explanation’ for defendant’s behavior.”      Eclectic Props. E., LLC v. Marcus &
23   Millichap Co., 751 F.3d 990, 996 (9th Cir. 2014) (citation omitted). In the face of a
24   plausible alternative explanation, “[s]omething more is needed, such as facts tending
25   to exclude the possibility that the alternative explanation is true.” In re Century
26   Aluminum, 729 F.3d at 1108. As this Court previously found after reviewing the
27   Mowbray Declaration, “it appears just as likely that Muzin became aware of the
28   press’s interest in Plaintiffs through his own conversations with various reporters and

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 1   members of the press.” Dkt. 37 at 3 (emphasis added). Because the FAC contains no
 2   new allegations that could affect that conclusion, Plaintiffs’ allegations are
 3   necessarily insufficient to state a conspiracy claim, and Count X should be dismissed.
 4        F.     Plaintiffs’ Common Law Tort Claims—Counts III, IV, V, and X—
 5               Should Also Be Dismissed Because They Are Preempted.
 6               1.     Plaintiffs’ CUTSA Claim Preempts Their Common Law Claims.
 7         Plaintiffs’ common law claims are also preempted and should be dismissed
 8   under black letter California law. The “CUTSA provides the exclusive civil remedy
 9   for conduct falling within its terms, so as to supersede other civil remedies ‘based
10   upon misappropriation of a trade secret.’” Chang v. Biosuccess Biotech Co., 76 F.
11   Supp. 3d 1022, 1041 (C.D. Cal. 2014) (citations omitted); see Cal. Civ. Code
12   § 3426.7. Thus, because Plaintiffs invoke the CUTSA here, their common law
13   claims—which all relate to the alleged hack of Plaintiffs’ emails and thus arise out of
14   the same nucleus of operative facts—are preempted, even though Plaintiffs have
15   failed to state a claim under CUTSA. Chang, 76 F. Supp. 3d at 1040; see also ATS
16   Prods., Inc. v. Champion Fiberglass, Inc., No. 13-CV-02403, 2015 WL 224815, at
17   *1 (N.D. Cal. Jan. 15, 2015) (finding claims for conspiracy to misappropriate trade
18   secrets, receipt of stolen property, and aiding and abetting to be preempted by
19   CUTSA); New Show Studios LLC v. Needle, No. 2:14-CV-01250, 2014 WL 2988271,
20   at *9 (C.D. Cal. June 30, 2014) (holding that CUTSA preempted common law claims
21   of conversion, invasion of privacy, and receipt and possession of stolen property
22   under California Penal Code § 496). Counts III, IV, V, and X should be dismissed
23   for this additional reason.
24               2.     Plaintiffs’ CFAA Claim Preempts Their Common Law Conspiracy
25                      Claim.
26         Because the CFAA expressly provides for a conspiracy claim, Plaintiffs’
27   common law conspiracy claim is preempted and should be dismissed. That is, under
28   the CFAA, civil liability may extend to co-conspirators under limited circumstances.

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 1   See 18 U.S.C. § 1030(b). Plaintiffs here, however, have not alleged a violation of 18
 2   U.S.C. § 1030(b), and fail even to cite it. Instead, Plaintiffs allege a civil conspiracy.
 3   See FAC ¶¶ 228-38. However, “by creating a statutory conspiracy claim, Congress
 4   excluded common-law conspiracy claims.” Hovanec v. Miller, No. SA-17-CV-766,
 5   2018 WL 1221486, at *8 (W.D. Tex. Mar. 7, 2018); see DHI Group, Inc. v. Kent, No.
 6   H–16–1670, 2017 WL 1088352, at *12 (S.D. Tex. Mar. 3, 2017) (holding that “the
 7   CFAA, by creating a statutory conspiracy claim, excludes common law conspiracy
 8   claims”)). This is because when Congress creates a remedy for specific conduct, it is
 9   the exclusive remedy. See United States v. Bormes, 568 U.S. 6, 12-13 (2012)
10   (“[A] ‘precisely drawn, detailed statute pre-empts more general remedies.’” (citation
11   omitted)). For this additional reason, Count X should be dismissed.
12                                       CONCLUSION
13         For the reasons stated herein, the Stonington Defendants respectfully request
14   that this Court dismiss this case with prejudice for lack of jurisdiction, or, in the
15   alternative, for failure to state a claim upon which relief can be granted. Moreover,
16   for all of the reasons in Qatar’s memorandum in support of its motion to dismiss, Dkt.
17   112-1 at 21-24, if Qatar is dismissed, the entire case should be dismissed because
18   Qatar is a necessary party under Federal Rule of Civil Procedure 19. Leave to amend
19   should not be granted because Plaintiffs have already significantly amended their
20   complaint, and there is nothing they can do to either ameliorate the jurisdictional
21   defects present here, or buttress their shotgun allegations against the Stonington
22   Defendants. See Tae Hee Lee v. Toyota Motor Sales, U.S.A., Inc., 992 F. Supp. 2d
23   962, 971 (C.D. Cal. 2014) (citation omitted).
24   Dated: July 9, 2018                           Respectfully submitted,
25                                                 WILEY REIN LLP
26                                                 LECLAIRRYAN LLP
27                                                 By: Stephen J. Obermeier
28                                                      Stephen J. Obermeier

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